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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND
                           (Greenbelt Division)


 KILMAR ARMANDO ABREGO
   GARCIA, et al.,

 Plaintiffs,
                                              No. 8:25-cv-00951-PX
                    v.

 KRISTI NOEM, Secretary of
   Homeland Security, et al.,

 Defendants


[SEALED] PARTIALLY OPPOSED MOTION FOR A ONE WEEK STAY
                     OF DISCOVERY
      Defendants move for a brief, one-week stay of the Court’s discovery order

and the Court’s order requiring daily status reports on Defendants’ facilitation

efforts. For the reasons set forth in today’s status report, which was provided

to the Court ex parte and under seal, compliance with these orders is likely to

interfere with Defendants’ efforts to resolve this litigation. Plaintiffs are not

likely to be prejudiced by a one-week stay of these orders as the short stay

supports their litigation aims. Defendants conferred with Plaintiffs’ counsel

regarding this request. Plaintiffs’ counsel has agreed to reschedule depositions

set for tomorrow but otherwise opposes this request.

      On March 24, 2025, Plaintiffs filed this suit, challenging Abrego Garcia’s

removal to his native country of El Salvador. Defendants are presently subject

to an amended preliminary injunction that “direct[s] that Defendants take all
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available steps to facilitate the return of Abrego Garcia to the United States as

soon as possible.” ECF 51 at 1. The Court separately ordered Defendants to

submit daily status reports addressing efforts to comply with the Court’s

amended preliminary injunction order. And, on April 15, the District Court

ordered discovery in connection with its amended injunctive order. ECF 79.

Specifically, the Court authorized Plaintiffs to seek (i) fifteen requests for

production of documents, (ii) fifteen interrogatories, and authorized (iii) four

depositions, with the possibility of two more. Id. at 7. The Court ordered

discovery be completed on an expedited basis.

      For the reasons set forth in Defendant’s ex parte status report,

compliance with the Court’s discovery order and daily status reports is likely

to interfere with efforts to resolve this litigation. In addition, the status report

was submitted by a witness who is involved in those efforts to comply with the

Court’s order and is scheduled to be deposed tomorrow afternoon. As a result

of the developments reported by the witness, it is unlikely that the witness will

be in a position to testify as on the topics noticed, and it is likely that a

deposition would further the harm set forth in the ex parte status report. To

the extent that this Court would like additional details regarding the efforts at

issue, the witness scheduled to be deposed tomorrow would be prepared to

provide testimony to the Court in camera to explain why the requested stay is

warranted here.
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      Plaintiffs will not be prejudiced by a short pause. Today’s status report

confirms that the stay will further Plaintiffs’ interests and could aid in the

resolution of this litigation. Defendants are not proposing that they will cease

efforts to comply with the Court’s amended preliminary injunction order.

Rather, Defendants are actively engaged in efforts that extend beyond mere

facilitation. Defendants seek relief from orders that will distract from and

undermine those efforts and further avoid the potential need to seek

emergency relief to protect the Government’s privileges from waiver.

Moreover, yesterday’s status report confirms that Mr. Abrego Garcia is not

being detained at the Terrorism Confinement Center (CECOT) and is “in good

conditions and in an excellent state of health.” ECF 97 at ¶2. Accordingly, the

equities strongly support a short stay of discovery.

                                        Respectfully submitted,

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                                        Civil Division

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                                        Deputy Director
      Dated: April 22, 2025             Office of Immigration Litigation

                                        Counsel for Defendants
